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  UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                         §
                                                   §
  versus                                           §           CASE NO. 4:16-CR-176
                                                   §
  JAMES MORRIS BALAGIA (3)                         §

                                               ORDER

           Pending before the court is United States’ (“Government”) 404(b) Notice and Trial Brief

  on the Admissibility of Extraneous Offenses (#234). Having reviewed the motion, the court finds

  that additional information is needed.      Accordingly, on or before January 22, 2019, the

  Government shall submit supplemental briefing addressing the following issues:

           (1)    What relationship, if any, does Balagia’s representation of MN have to the offenses
                  charged?

           (2)    What was stated in JMM’s affidavit and what evidence does the Government have
                  that the statement(s) were false?

           (3)    What is the contents of JMM’s anticipated testimony and how is it corroborated by
                  the affidavit?

           (4)
             What did Balagia tell the State Bar of Texas in his letter, how does it contradict
   .         what he told the DEA, and what is the letter’s relationship to JMM’s affidavit?
   SIGNED at Beaumont, Texas, this 7th day of September, 2004.
   SIGNED at Beaumont, Texas, this 14th day of January, 2019.




                                       ________________________________________
                                                   MARCIA A. CRONE
                                            UNITED STATES DISTRICT JUDGE
